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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA,

        v.
                                                            CRIMINAL ACTION
 FRANK HICKS,                                               NO. 13-547

                        Defendant.


                                         ORDER

       AND NOW, this 25th day of September 2020, upon consideration of Defendant’s Motions

for Compassionate Release (Doc. Nos. 63, 66), the Government’s Response in Opposition (Doc.

Nos. 69, 70), and in accordance with the Opinion of the Court issued this day, it is ORDERED

that Defendant’s Motions (Doc. Nos. 63, 66) are DENIED.

                                                 BY THE COURT:



                                                 /s/ Joel H. Slomsky
                                                 JOEL H. SLOMSKY, J.




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